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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 G.B.; S.S.; and individuals similarly situated,
                                                       CIVIL CASE NO. 2:24-cv-05884

                        Plaintiffs,
                                                     PLAINTIFFS’ MEMORANDUM OF
                                                   LAW IN SUPPORT OF THEIR MOTION
        -against-                                    FOR PRELIMINARY INJUNCTION
                                                    AND A TEMPORARY RESTRAINING
                                                                ORDER
 NASSAU COUNTY; NASSAU COUNTY
 EXECUTIVE BRUCE BLAKEMAN, in his
 official capacity,

                        Defendants.




                                                         DISABILITY RIGHTS NEW YORK
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                                      Preliminary Statement

        Nassau County recently enacted the Mask Transparency Act (the “Mask Ban”), which

 bans face masks in the County. The Mask Ban forbids any person from wearing a facemask

 outside their own private property and affords law enforcement immense power to discern the

 intent of anyone who wears a mask. The Mask Ban was allegedly enacted to address issues with

 masked crime that have been fabricated by politicians to push through a law which does not

 serve the public good.

        The Mask Ban places individuals with disabilities in grave danger as they must decide

 between remaining isolated from public life in their homes or going out into the community to

 face inevitable harassment, and potential detainment or arrest.

        Plaintiffs seek a temporary restraining order and mandatory preliminary injunction to

 immediately stay enforcement of the Mask Ban in Nassau County.

                                        Statement of Facts

 Facts Regarding the Mask Ban

        On August 14, 2024, County Executive Bruce Blakeman signed the Mask Ban into law in

 Nassau County. The law reads in relevant part:

        a) No person or persons while wearing any mask or facial covering whereby the
           face or voice is disguised with the intent to conceal the identity of the wearer
           shall enter, or appear upon or within any sidewalk, walkway, alley, street,
           road, highway or other public right-of-way or public property or private
           property without the consent of the owner or tenant. This law shall not apply
           to facial coverings worn to protect the health and safety of the wearer, for
           religious or cultural purposes, or for the peaceful celebration of a holiday or
           similar religious or cultural event for which the wearing of masks or facial
           coverings are customarily worn. A law enforcement officer may require a
           person or persons to remove the mask during traffic stops or when the officer
           has reasonable suspicion of criminal activity and/or intention to partake in
           criminal activity.




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        b) The provisions of this section shall apply only if the person wearing the mask
           or facial covering:

              1. remains or congregates in a public place with other persons so masked or
                 disguised, or knowingly permits or aids persons so masked or disguised to
                 congregate in a public place; or

              2. acts with the intent, by force or threat of force, to injure, intimidate, or
                 interfere with any person because of the person’s exercise of any right
                 secured by federal, state, or local law or to intimidate such person or any
                 other person or any class of persons from exercising any right secured by
                 federal, state, or local law; or

              3. acts with the intent to intimidate, threaten, abuse, or harass any other
                 person; or

              4. is engaged in conduct that could reasonably lead to the institution of a civil
                 or criminal proceeding against her or him, with the intent of avoiding
                 identification in such a proceeding.

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 14, 2024).

 Facts Regarding Plaintiffs

           I.     S.S.

        S.S. is a resident of Nassau County and has been for 31 years. S.S. Aff. ¶ 2. They have

 common variable immunodeficiency (CVID), kidney disease, a respiratory impairment, and

 post-viral syndrome. S.S. Aff. ¶ 4. Due to CVID, S.S.’s body does not create its own

 immunoglobulins. S.S. Aff. ¶ 5. As a result, S.S. has been injecting themselves with

 immunoglobulins daily for more than 20 years. S.S. Aff. ¶ 6. S.S.’s disabilities increase their risk

 of serious side effects and death should they become ill. S.S. Aff. ¶¶ 8-12. S.S. wears a KN95

 mask whenever they leave their home and will be around other people and has done so since

 early 2020. S.S. Aff. ¶¶ 14-19. When S.S.’s spouse goes out in public they also wear a mask in

 order to protect S.S. S.S. Aff. ¶¶ 26-27.



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         Even prior to the Mask Ban, S.S. often received sneering looks from other people while

 in public wearing a mask. S.S. Aff. ¶ 21. Since the Mask Ban, S.S. is terrified to go out in public

 while wearing a mask. S.S. Aff. ¶¶ 22-24. They fear harassment and assault by other private

 citizens, and fear being stopped for questioning by police. S.S. Aff. ¶¶ 22-24, 31-34. In order to

 preserve their health, S.S. would not remove their mask in public even if instructed to do so by a

 police officer. S.S. Aff. ¶ 25.

         On August 9, 2024, S.S. received an email from Legislator Scott Strauss about the Mask

 Ban. S.S. Aff. ¶ 28; S.S. Exhibit A. The email contained an alarming image of a person wearing

 a medical mask and referred to this person as a “faceless thug.” S.S. Aff. ¶ 29; S.S. Exhibit A.

 The image and the email made S.S. afraid to contact their legislators with their concerns about

 the Mask Ban. S.S. Aff. ¶¶ 30-31. S.S. is also afraid to contact police should they be confronted

 by another person for wearing a mask. S.S. Aff. ¶ 32.

          II.    G.B.

         Plaintiff G.B. is a resident of Nassau County and has been for 24 years. G.B. Aff. ¶ 2.

 G.B. is a person with a mobility disability who uses a wheelchair and has asthma. G.B. Aff. ¶¶ 4-

 5. G.B.’s disabilities increase their risk of serious side effects and death should they become ill.

 G.B. Aff. ¶¶ 6-9. They wear a facemask when they go out in public, join events in public and

 private spaces, and shop at places such as the grocery store. G.B. Aff. ¶¶ 10, 13. G.B. is an active

 community member and an advocate for the Disability Community in Nassau County. G.B. Aff.

 ¶¶ 14-18. G.B. has participated in rallies and protests in their community and plans to continue to

 organize and/or join peaceful protests in Nassau County to advocate for the civil rights of people

 with disabilities. Id. G.B. plans to continue to engage in peaceful protest while wearing a mask in




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 Nassau County. G.B. Aff. ¶ 17. G.B. has many friends who mask, and G.B. also wears a face

 mask around their friends to protect them. G.B. Aff. ¶¶ 11-12.

        G.B. is fearful of police interaction, arrest, and detainment because they wear a mask in

 Nassau County. G.B. Aff. ¶ 19. While in public and private places, strangers have come up to

 G.B. since August 5, 2024, to ask G.B. if they are sick and why they are wearing a mask. G.B.

 Aff. ¶ 20. G.B. is afraid of unwanted contact, harassment, discrimination, and/or abuse by private

 people and government employees in Nassau County because they wear a mask to manage their

 disability. G.B. Aff. ¶¶ 23-26. G.B. intends to continue to go out in public and private places,

 such as local parks, on the sidewalks, in government buildings, and into stores open to the public,

 while wearing a mask. G.B. Aff. ¶ 21.

                                            Legal Standard

        Plaintiffs are entitled to injunctive relief. A plaintiff seeking a temporary restraining order

 must establish that he is likely to succeed on the merits, that he is likely to suffer irreparable

 harm in the absence of preliminary relief, that the balance of equities tips in his favor, and that an

 injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

 This Court recognizes that “the standard for an entry of a TRO is the same as for a preliminary

 injunction.” Papadimitriou v. Mullooly, Jeffrey, Rooney & Flynn, LLP, 2023 WL 4138517, at *1

 (E.D.N.Y. June 22, 2023) (citing Andino v. Fischer, 555 F. Supp. 2d 418, 419 (S.D.N.Y. 2008)

 (collecting cases)). In some instances, a court will apply a heightened standard. See N.Y. Civil

 Liberties Union v. N.Y.C. Transit Auth., 684 F.3d 286, 294 (2d Cir. 2012) (citing Bronx

 Household of Faith v. Bd. of Educ., 331 F.3d 342, 349 (2d Cir. 2003)) (For a court to grant a

 mandatory injunction, “the movant must show a ‘clear’ or ‘substantial’ likelihood of success” on

 the merits.); see also Ligon v. City of New York, 925 F. Supp. 2d 478, 486 (S.D.N.Y. 2013)



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 (“[W]here ‘the injunction sought will alter rather than maintain the status quo,’ the movant must

 show [a] ‘clear’ or ‘substantial’ likelihood of success.” (internal citation omitted)). Not enforcing

 the Mask Ban maintains the status quo because Defendants have yet to issue directives and

 guidance to law enforcement. This Court need not apply the heightened standard to review

 Plaintiffs’ request for immediate injunctive relief to stay the Mask Ban.

                                               Argument

    I.      Plaintiffs Have Demonstrated a Likelihood of Success on the Merits

            A. The Mask Ban is Preempted by Federal and State Law

         The United States Constitution states that it is “the supreme Law of the Land.” U.S.

 Const. art. VI, cl. 2. Under the requirements of this Supremacy Clause, “a discriminatory state

 law is not a defense to liability under federal law; it is a source of liability under federal law.”

 Mary Jo C. v. New York State & Loc. Ret. Sys., 707 F.3d 144, 164 (2d Cir. 2013) (quoting

 Quinones v. City of Evanston, III., 58 F.3d 275, 277 (7th Cir. 1995)).

         A law is preempted in three circumstances: (1) Congress defines explicitly the extent to

 which its enactments preempt state or local law, (2) Congress regulates conduct in a field it

 intends to occupy exclusively, and (3) the lower law conflicts with the higher law. See Eng. v.

 Gen. Elec. Co., 496 U.S. 72, 78-79 (1990).

                1. The Mask Ban is Conflict Preempted by the ADA and Section 504

         A court will find conflict preemption where it is impossible to comply with both

 state/local and federal requirements, or where the state/local law “stands as an obstacle to the

 accomplishment and execution of the full purposes and objectives of Congress.” Id. at 79

 (quoting Hines v. Davidowitz, 312 U.S. 52, 67 (1941)); see also Levitin v. PaineWebber, Inc.,

 159 F.3d 698, 705 (2d Cir.1998) (“An actual conflict also exists ‘where federal law is in



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 irreconcilable conflict with state law.’”). Under the doctrine of preemption, when a federal law

 preempts a state or local law, the preempted law ceases to be in effect and is considered void.

 Spiteri v. Russo, 2013 WL 4806960, at *40 (E.D.N.Y. Sept. 7, 2013), aff'd sub nom. Spiteri v.

 Camacho, 622 F. App'x 9 (2d Cir. 2015).

         The Mask Ban stands as a clear and insurmountable obstacle to the accomplishment and

 execution of Congress’ well-established purposes and objectives of the ADA and Section 504.1

 The ADA is a remedial statute to be interpreted broadly to fulfill its goal of establishing a clear

 and comprehensive national mandate for eliminating discrimination against individuals with

 disabilities, allowing people with disabilities to integrate into mainstream life. PGA Tour, Inc. v.

 Martin, 532 U.S. 661, 675 (2001); Noel v. New York City Taxi and Limousine Comm'n, 687 F.3d

 63, 68 (2d Cir. 2012).

         “In the ADA, Congress provided a broad mandate to effectuate its sweeping purpose to

 forbid discrimination against disabled individuals in major areas of public life, including public

 services.” Mary Jo. C., 707 F.3d at 162-63 (internal quotations, citations, and alterations

 omitted).

         Congress found that individuals with disabilities continually encounter various
         forms of discrimination, including outright intentional exclusion, the
         discriminatory effects of architectural, transportation, and communication
         barriers, overprotective rules and policies, failure to make modifications to
         existing facilities and practices. The ADA aims to provide a clear and
         comprehensive national mandate for the elimination of discrimination against
         individuals with disabilities. Title II of the ADA represents Congress’ attempt to
         apply this clear and comprehensive national mandate to the services, programs, or
         activities of any State or local government and any department, agency or other
         instrumentality of a State.

 1“Claims of disability discrimination under the ADA are held to essentially the identical standard as is
 applied under Section 504 of the Rehabilitation Act.” Brown v. Connecticut, 2010 WL 2220580, at *20
 (D. Conn. May 27, 2010) (citing Henrietta D. v. Bloomberg, 331 F.3d 261, 272 (2d Cir. 2003)). Plaintiffs’
 claims are brought pursuant to both Title II of the ADA and Section 504. In the interest of brevity,
 Plaintiffs present their arguments using reference to the ADA with the understanding that the standard is
 the same under either statute.
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 Id. at 162-63 (internal quotations, citations, and alterations omitted).

         Plaintiffs must wear masks in public to have equal access to community life. The Mask

 Ban will expose Plaintiffs to harassment and discrimination and deter them from going out in

 public in Nassau County. The Mask Ban conflicts with the ADA’s mandate because it

 necessarily subjects individuals with disabilities, like Plaintiffs, to an increased risk of

 harassment, detainment, or arrest in public.

         Defendants cannot enforce the Mask Ban’s ban on face coverings in public while

 simultaneously complying with the ADA. Montana Med. Ass’n v. Knudsen, 581 F.Supp. 3d

 1232, 1241 (D. Mon. 2022) (finding that plaintiffs plausibly alleged that conflict preemption

 applied to a statute which prevented reasonable accommodations.). The Mask Ban creates a

 standard that requires Plaintiffs to justify their need to wear a mask to the subjective satisfaction

 of law enforcement to be able to be in the community, regardless of their rights under the ADA.

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 14, 2024).

         Plaintiffs are also forced to justify their need to wear a mask to the subjective satisfaction

 of owners or tenants of private property to be able to enter their property. Id. The ADA requires

 government entities, such as police officers, and businesses open to the public, such as grocery

 stores, to reasonably accommodate people with disabilities, but the Mask Ban permits a level of

 intrusion upon a person with a disability that will lead to discrimination because of their

 disability.

         The Mask Ban is conflict preempted by the ADA and is, therefore, void.




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                  2. The Mask Ban is Field Preempted by State Law

         The Mask Ban is void because it is preempted by New York State’s repeal in 2020 of

 N.Y. Penal Law 240.35(4), which prevented certain mask wearing throughout the state. The

 doctrine of field preemption applies to local laws that regulate the same subject matter where “a

 declaration of state policy evinces the intent of the Legislature to preempt local laws on the same

 subject matter.” Sunrise Check Cashing & Payroll Servs., Inc. v. Town of Hempstead, 91 A.D.3d

 126, 135 (2011). Where the local law regulates the same subject matter, it is deemed inconsistent

 with the State’s interest regardless of whether the local law actually conflicts with a state-wide

 statute. Chwick v. Mulvey, 81 A.D.3d 161, 169 (2010) (emphasis in original). “Such local laws,

 were they permitted to operate in a field preempted by State law, would tend to inhibit the

 operation of the State’s general law and thereby thwart the operation of the State’s overriding

 policy concerns.” Id. (internal citations omitted).

         In May 2020, New York passed legislation that permanently repealed N.Y. Penal Law

 240.35(4), a nearly 200-year-old law that made it a criminal violation for groups of individuals to

 wear masks in public. New York Senate Bill S8415. The State Legislature withdrew N.Y. Penal

 Law 240.35(4) with clear and explicit intent to allow people to wear masks in public as is

 necessary for the health and safety of the community, and to remove any threat of criminal

 prosecution from masking in public.2 Nassau County’s Mask Ban not only impedes this repeal,

 it directly conflicts with the State’s policy interest to protect the health and safety of all New

 Yorkers. The Mask Ban is field preempted and, therefore, void.




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   Assemblyman Dan Quart stated, “[i]f we are to stop the spread of COVID-19, we must ensure that everyone feels
 safe wearing a mask in public, without the threat of arrest, prosecution, or worse.” https://ag.ny.gov/press-
 release/2020/attorney-general-james-applauds-repeal-law-criminalizing-group-mask-use-public (last visited August
 15, 2024).

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            B. The Mask Ban Violates the ADA and Section 504

        The Mask Ban harms Plaintiffs by depriving them of access to public life without fear of

 harassment, intimidation, detainment, and arrest. This deprivation violates the ADA’s mandate

 that people with disabilities be provided equal access to the programs, services, and activities

 offered by and within Nassau County.

        To establish a claim of discrimination under Title II of the ADA, G.B. and S.S. must

 demonstrate that (1) they are a “qualified individuals” with disabilities; (2) that the Defendants

 are subject to the ADA; and (3) that Plaintiffs were denied the opportunity to participate equally

 in or benefit equally from Defendants’ services, programs or activities, by reason of their

 disability. See Henrietta D., 331 F.3d at 272.

                1. Plaintiffs are Qualified Individuals with Disabilities

        Plaintiffs are qualified individuals with disabilities because they have disabilities and

 want to equally participate in and benefit from daily life in Nassau County while wearing a

 mask. The term qualified individual with a disability means “an individual with a disability, who

 with or without reasonable modifications to rules, policies or practices…meets the essential

 eligibility requirements for the…participation in programs or activities provided by a public

 entity.” 42 U.S.C. § 12131(2).

        Under the ADA, an individual has a disability if he has a “physical or mental impairment

 that substantially limits one or more of the major life activities of such individual.” 42 U.S.C. §

 12102(2)(A)(B). Plaintiff G.B. has cerebral palsy and asthma, and uses a wheelchair to ambulate.

 G.B. Aff. ¶¶ 4-5. Plaintiff S.S. has common variable immunodeficiency (CVID), kidney disease,

 and respiratory impairments. S.S. Aff. ¶ 4. These disabilities impact major life activities, like

 breathing, immune response, and walking. See 29 C.F.R. § 1630.2(i)(1)(i).



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        Plaintiffs “meet the essential eligibility requirements” to benefit from this government

 service. See Brooklyn Ctr. for Indep. of Disabled v. Bloomberg, 980 F. Supp. 2d 588, 640

 (S.D.N.Y. 2013). Plaintiffs live in Nassau County. They are members of the community and use

 community resources and attend community businesses. See generally S.S. Aff., G.B. Aff. They

 seek to go into parks, shops, restaurants, and other places within Nassau County. Id. They intend

 to go to these places while wearing face masks to manage their disabilities but may also avoid

 going into public unless necessary. See G.B. Aff. ¶ 21, S.S. Aff. ¶¶ 25, 35. They are subject to

 the Mask Ban anytime they leave their homes to visit places within Nassau County. Plaintiffs are

 unquestionably qualified individuals with a disability under the ADA.

                2. Defendants are a Public Entity Subject to Title II of the ADA

        Title II of the ADA covers any “public entity,” meaning “(A) any State or local

 government; [or] (B) any department, agency, special purpose district, or other instrumentality of

 a State or States or local government.” 42 U.S.C. § 12131(1). Section 504 covers the programs or

 activities of all recipients of federal financial assistance. 29 U.S.C. § 794(b).

        Defendant Nassau County is a local government body, accepts federal funding, and is

 subject to Title II of the ADA and Section 504 anti-discrimination laws and regulations. Brown

 v. Cnty. of Nassau, 736 F. Supp. 2d 602, 604 (E.D.N.Y. 2010). Defendants are required to

 comply with the ADA and Section 504.

                3. The Mask Ban Discriminates Against Plaintiffs Based on Their
                   Disabilities

        Plaintiffs need to wear masks while outside of their homes to protect their health and the

 health of others. They require unrestricted access to face masks so they can have equal access to

 the programs, services, and activities of Nassau County. Plaintiffs face discrimination and




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 harassment because of the Mask Ban. They will fall victim to the subjective interpretation and

 application of the Mask Ban.

         Defendants engage in unlawful disability-based discrimination through the Mask Ban.

 Under the ADA and Section 504, a public entity may not, in providing any aid, benefit, or

 service, “[d]eny a qualified individual with a disability the opportunity to participate in or benefit

 from the aid, benefit, or service[,] . . . that is not equal to that afforded others[,]” or “[p]rovide a

 qualified individual with a disability with an aid, benefit, or service that is not as effective in

 affording equal opportunity to obtain the same result, to gain the same benefit, or to reach the

 same level of achievement as that provided to others[.]” 28 C.F.R. §§ 35.130(b)(1)(i)-(iii);

 accord 45 C.F.R. § 84.4(b)(1)(ii)-(iii). Title II of the ADA “imposes affirmative obligations on

 public entities and does not merely require them to refrain from intentionally discriminating

 against the disabled.” Ability Ctr. of Greater Toledo v. City of Sandusky, 385 F.3d 901, 910 (6th

 Cir. 2004).

         The ADA also prohibits “association discrimination,” making it unlawful to discriminate

 against an individual, whether disabled or not, because of a relationship or association with an

 individual with a disability. 28 C.F.R. § 35.130(g). The Mask Ban provides no exception for

 those wearing a mask to protect the health and safety of others. Plaintiffs, therefore, experience

 an additional layer of discrimination because the Mask Ban prohibits their friends and family

 from wearing a mask to protect them. The Mask Ban makes Plaintiffs’ friends, family, and

 caregivers less likely to wear masks in public because they face jail time and/or a fine if they do.

         The Mask Ban denies Plaintiffs’ non-discriminatory access to the public sphere in Nassau

 County. The Mask Ban forces people who wear masks in Nassau County to make “either/or”

 choices: (1) being forced out of in-person interactions altogether, (2) wearing a mask in public



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 and facing the subjective biases of law enforcement and possible criminal prosecution, or (3)

 taking greater health and safety risks than their non-disabled peers by not masking in public.

 Forcing such a choice is impermissible under the ADA. See, e.g. Arc of Iowa v. Reynolds, 24

 F.4th 1162, 1181 (8th Cir.) (forcing a plaintiff into an “either/or choice” provides an adequate

 injury under the ADA), reh'g granted and opinion vacated, No. 21-3268, 2022 WL 898781 (8th

 Cir. Mar. 28, 2022), and vacated, 33 F.4th 1042 (8th Cir. 2022) (vacated as moot because “the

 current conditions differ vastly from those prevailing when the district court addressed it.”).

          The deprivation of access to public life is a present and ongoing injury to Plaintiffs. The

 Mask Ban violates the ADA because it denies the equal opportunity to participate in and benefit

 from a government service, program, or activity: public life. The Mask Ban deters Plaintiffs from

 engaging in all aspects of public and private life outside their homes because they fear how both

 members of the public and police will react to them wearing masks in public. Should Plaintiffs

 decide to leave their homes, they face immediate and unavoidable risks that their non-disabled

 peers do not. They risk their and their families’ health and well-being should they not mask to

 protect themselves and those around them from airborne diseases or they risk harassment,

 detainment, and potential arrest should they mask even for their very legitimate health reasons.

    II.      Plaintiffs Will Suffer Irreparable Harm if a Preliminary Injunction is not
             Granted

          The showing of irreparable harm is the “single most important prerequisite for the

 issuance of a preliminary injunction.” People of New York ex rel. Spitzer v. Cty of Delaware, 82

 F. Supp. 2d 12, 16 (N.D.N.Y. 2000) (quoting Bell & Howell v. Masel Supply Co., 719 F.2d 42,

 45 (2d Cir. 1983)). “Irreparable harm is an injury that is not remote or speculative but actual and

 imminent, and ‘for which a monetary award cannot be adequate compensation.’” Galusha v. New




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 York State Dep’t of Envtl. Conservaation, 27 F. Supp. 2d 117, 122 (N.D.N.Y. 1998) (quoting

 Tom Doherty Assocs. Inc. v. Saban Entertainment, Inc., 60 F.3d 27, 37 (2d Cir. 1995)).

          “In evaluating whether the plaintiff will suffer imminent harm, the court must actually

 consider the injury the plaintiff will suffer if he or she loses on the preliminary injunction but

 ultimately prevails on the merits, paying particular attention to whether the remedies available at

 law, such as monetary damages, are adequate to compensate for that injury.” Martinez v. Cuomo,

 459 F. Supp. 3d 517, 526 (S.D.N.Y. 2020) (citing Salinger v. Colting, 607 F.3d 68, 80 (2d Cir.

 2010) (internal quotation marks omitted)); Mint, Inc. v. Amad, 2011 WL 1792570, at *1

 (S.D.N.Y. May 9, 2011). Plaintiffs seeking preliminary relief are required to demonstrate

 that irreparable injury is likely in the absence of an injunction. Winter, 555 U.S. at 20.

          The harm to Plaintiffs absent the requested relief is both imminent and irreparable. Every

 day that the Mask Ban remains in effect, Plaintiffs are forced to choose between being isolated in

 their homes or risking health, safety and being accosted by police or other citizens by going out

 into public with a face mask. The Mask Ban places Plaintiffs at risk in every aspect and moment

 of their lives and in every way deprives them of equal access to the world outside their own

 homes.

          The risks that Plaintiffs face should they choose to leave their homes are very real.

 Plaintiffs may contract an airborne disease which could result in their or a loved one’s death

 should they leave their homes without a mask. Covid-19 Wastewater Surveillance, N.Y. State,

 https://coronavirus.health.ny.gov/covid-19-wastewater-surveillance (last updated Aug. 15, 2024).

 In addition, should Plaintiffs choose to mask when they venture out, they risk harassment by

 property and business owners who do not permit mask wearing on their private property and

 emboldened people in public “enforcing” the law. They also face imminent threat of detainment



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 and arrest by a police force charged with determining a mask-wearer’s intent. See Power and

 Politics: Mask ban fallout; development of Riverhead waterfront, NEWS 12 LONG ISLAND (Aug.

 11, 2024) https://longisland.news12.com/power-and-politics-mask-ban-fallout-development-of-

 riverhead-waterfront (Mask Ban sponsor Legislator Mazi Pilip explaining that the “bill gives our

 law enforcement the opportunity to engage in the conversation. If people is walking with mask,

 the police can see what is their intention.”); see also Will Nassau County implement a mask

 ban?, FOX 5 NEW YORK (July 12, 2024) at 0:52-1:00, https://www.fox5ny.com/video/1484612;

 Mazi Melesa Pilip (@maziourlegislator), Smile for the camera! INSTAGRAM (Aug. 14, 2024),

 https://www.instagram.com/reel/C-p64DaxeQz/?igsh=YXozMThpd3Bna3Aw.

        The wearing of a mask provides law enforcement with reasonable suspicion to question

 Plaintiffs about wearing a mask. Law enforcement is tasked with determining the “intent” of

 wearers and if they are exempt from the Mask Ban’s prohibition on face coverings. NASSAU

 COUNTY, N.Y., MISCELLANEOUS LAWS OF NASSAU COUNTY TITLE 91 (effective August 14,

 2024). (No person shall wear a mask “with the intent to conceal the identity of the wearer….”).

 Should Plaintiffs leave their homes wearing masks and encounter police or property owners who

 question their “intent,” they may be required under the Mask Ban to risk their health by

 removing their mask. Id. (“A law enforcement officer may require a person or persons to remove

 the mask during traffic stops or when the officer has reasonable suspicion of criminal activity

 and/or intention to partake in criminal activity.”).

        Plaintiffs will refuse to remove their masks even at the order of law enforcement because

 doing so would compromise their health or the health of their friends and families. See supra,

 Statement of Facts.




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        Some of Plaintiffs’ disabilities are not apparent leaving no way for police to determine

 why they are wearing a mask without questioning them. All masks and face coverings are subject

 to the ban because the Mask Ban does not define the term. An email from Legislator Scott

 Strauss sent on August 9, 2024, in support of the Mask Ban used an image with the Nassau

 County Seal on it that depicts a medical face mask with a slash through it, shows an individual in

 a medical face mask, and calls people wearing medical face masks “thugs:”




 S.S. Aff. ¶¶ 28-30, Exhibit A.

        Plaintiffs also face harassment and assault from members of the public committed to

 enforcement of the Mask Ban. Even with appropriate and widespread messaging to support those

 who wear masks for a disability-related purpose, there will be public altercations or inappropriate

 interactions in public or private settings. See infra; Dkt. 1. The law allows restaurants, stores, or

 other retail establishments to confront Plaintiffs about wearing masks. Property and business

 owners can conclude that it is unlawful for them to be wearing a mask, even when Plaintiffs’

 only intent is to protect their health or the health of those with whom they are associated.

        This harm is not hypothetical. The Nassau County Legislative Hearing that took place on

 August 5, 2024, is a prime example of how the public and law enforcement will approach

 Plaintiffs and others who mask for health and safety reasons. A DRNY attorney attended the



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 Hearing to provide comment in opposition to the Mask Ban. Tronsor3 Aff. ¶ 1. He witnessed

 people with disabilities wearing masks being yelled at and threatened by others in the crowd.

 Tronsor Aff. ¶¶ 22-30. People wearing masks were recorded, asked invasive questions, and

 coughed on by people in favor of the Mask Ban. Id. When the DRNY attorney asked the

 chairman at the Hearing to stop the harassment in the crowd, the chairman threatened to have

 police detain him. Tronsor Aff. ¶¶ 37-43.

         A representative of Jews for Mask Rights provided their account of the events and

 harassment at the Hearing in an online post about their experience:

         Throughout the nearly seven-hour hearing, masked attendees were subjected to
         ongoing harassment. Some immunocompromised individuals were intentionally
         coughed on. Ban supporters told mask-wearers they couldn’t wait for their masks
         to be removed. Ban supporters pointed at, laughed at, and filmed disabled
         attendees. They made discriminatory remarks, even yelling out to arrest those in
         masks. Ban supporters harassed at least one speaker on their way out of the
         building. Law enforcement and government officials made minimal attempts to
         curb the vitriol, which only emboldened those perpetuating it.

 Anti-Mask Harassment at Nassau County’s Mask Ban Hearing, JEWS FOR MASK RTS. (Aug. 6,

 2024), https://www.jewsformaskrights.com/resources/anti-mask-harassment-nassau-countys-

 mask-ban-hearing. The harassment at the Hearing prompted additional harassment of mask

 wearers on social media. See e.g., Richwalder Aff. Exhibit A.

         One individual wrote into a local newspaper with a call to action for citizen enforcement

 of the Mask Ban:

         As a concerned and patriotic citizen, I think it’s my civic duty to help enforce the
         law. I also think that my fellow citizens should help where they can. Since most of
         us today have cellphones with cameras, when we see a crime, we should take a
         picture or video and send it to the police. So, we should start taking pictures of
         people wearing masks and send them to the police. Obviously, we shouldn’t try to
         make any arrests. These may be criminals who are armed and dangerous. A little
         old lady with a walker could be in costume.

 3
  DRNY employee William Tronsor is not identified by a pseudonym because he was identified in public record
 during his testimony on the Mask Ban, and because he is counsel on this case.

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 Randy Perlmutter, Letter to the Editor, Newsday, Aug. 20, 2024, at A21.

            Absent immediate injunctive relief, no legal remedy can turn back time and give

 Plaintiffs safe and equal access to the world outside their homes. No post injury remedy could

 ever compensate Plaintiffs if they or their families are unnecessarily exposed to a disease

 because they could not mask, or if they are unnecessarily stopped, questioned, or detained by

 police because they wore a face mask.

     III.      The Balance of Hardships Weighs Heavily in Plaintiffs’ Favor

            “When confronted with a motion for a preliminary injunction, a court ‘must balance the

 competing claims of injury and must consider the effect on each party of the granting or

 withholding of the requested relief.’” Main St. Baseball, LLC v. Binghamton Mets Baseball Club,

 Inc., 103 F. Supp. 3d 244, 262 (N.D.N.Y. 2015) (quoting Winter, 555 U.S. at 24). “Plaintiffs

 must establish that the ‘balance of hardships tips in their favor regardless of the likelihood of

 success.’” Id. at 262 (quoting Salinger, 607 F.3d at 79–80).

            There is no hardship on Nassau County if the Mask Ban is withdrawn. The legislative

 intent of the Mask Ban is “to prohibit the wearing of masks or other facial covering in public”

 because the “Legislature finds that masks and facial coverings…are often used as a predicate to

 harassing, menacing or criminal behavior.” NASSAU COUNTY, N.Y., MISCELLANEOUS LAWS OF

 NASSAU COUNTY TITLE 91 (effective August 14, 2024). There is no foundation for alleged fears

 that masked protestors and agitators are causing chaos, threatening illegal behavior, or

 committing crimes in Nassau County.

            At the August 5th Hearing, Police Commissioner Patrick Ryder provided testimony.4 See

 Nassau County Legislature Full Legislative Meeting, https://www.nassaucountyny.gov/


 4
  A recording of Commissioner Ryder’s testimony, and the entire legislative session, is available here:
 https://vimeo.com/event/4485832. Commissioner Ryder begins speaking at approximately 3:00:00.

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 AgendaCenter/ViewFile/Item/3195?fileID=248709, (August 5, 2024), at 135-190 (hereinafter

 “Legislative Meeting”). During his testimony, he stated that in spring 2020, a time when most

 people outside their homes were masking for health reasons, there were more than 300 protests

 in Nassau County following the death of George Floyd with zero incidents of violence, no

 charges of criminal mischief, and no arrests. Legislative Meeting at 135-36. He testified that

 following the events in Israel in October 2023, there have been over 100 protests in Nassau

 County, and reported there have been no violent incidents or issues that required Nassau County

 Police intervention during these events. Legislative Meeting at 138; 142-43. He reported that

 crime in Nassau County is down fifteen percent. Legislative Meeting at 138.

        Commissioner Ryder’s testimony did not conclude face masks worn by people in Nassau

 County pose an actual danger; nor did he or anyone else testifying explain why masks are

 outlawed, but sunglasses and hats remain legal even though studies prove they are more effective

 at hiding one’s identity. Eilidh Noyes et al, The Effect of Face Masks and Sunglasses on Identity

 and Expression Recognition with Super-Recognizers and Typical Observers, 8 Royal Soc’y

 Open Sci., (Mar. 24, 2021), https://royalsocietypublishing.org/doi/epdf/10.1098/rsos.201169;

 Charles C.-F. Or et al, Face Masks are Less Effective than Sunglasses in Masking Face Identity,

 13 Sci. Rep. 4284 (Mar. 15, 2023), https://doi.org/10.1038/s41598-023-31321-4. Nassau County

 will feel no hardship if the Mask Ban is not enforced because Defendants cannot demonstrate its

 local law is necessary to prevent crime.

        If the Mask Ban remains in effect, it will cause irreparable hardship to the Plaintiffs. Not

 only do they face harassment and unchecked discrimination by police and the public, but they

 also face prosecution if they venture out with companions who are also masked. NASSAU

 COUNTY, N.Y., MISCELLANEOUS LAWS OF NASSAU COUNTY TITLE 91 (effective August 14,



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 2024). Plaintiffs are forced to stay in their own homes to avoid threats and discrimination, unable

 to complete even the most basic daily tasks without risking their health and safety or the health

 and safety of their friends and families.

           The effect on Plaintiffs in denying this motion is substantial and irreparable. Exclusion

 from public life is demeaning, and forcing individuals with disabilities to venture out without a

 face mask could be life-threatening. This type of isolation is the antithesis of the ADA. See

 Olmstead v. L.C., 527 U.S. 581, 600-01 (1999) (“Recognition that unjustified institutional

 isolation of persons with disabilities is a form of discrimination reflects two evident judgments.

 First, [segregation] of persons who can handle and benefit from community settings perpetuates

 unwarranted assumptions that persons so isolated are incapable or unworthy of participating in

 community life. Second, [segregation] severely diminishes the everyday life activities of

 individuals, including family relations, social contacts, work options, economic independence,

 educational advancement, and cultural enrichment.”). The balance of hardships weighs heavily in

 Plaintiffs’ favor.

     IV.      The Mask Ban is Contrary to Public Interest

           “In exercising their sound discretion, courts of equity should pay particular regard for the

 public consequences in employing the extraordinary remedy of injunction.” Winter, 555 U.S. at

 24 (quoting Weinberger v. Romero–Barcelo, 456 U.S. 305, 312 (1982)). “[T]he court must

 ensure that the public interest would not be disserved by the issuance of a preliminary

 injunction.” Salinger, 607 F.3d at 80 (quoting eBay Inc. v. Mercexchange LLC., 547 U.S. 388,

 391 (2006) (internal quotations omitted)).

           As explained above, this law does not address any genuine threat to public safety, and

 unapologetically contradicts the U.S. Constitution and preemptive federal and state laws. See



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 generally, Legislative Meeting at 108-219 (dialogue among Nassau County Legislatures

 discussing the bill as proposed by the legislative majority and the counter bill proposed by the

 legislative minority). The Mask Ban poses a genuine threat to the health and safety of the

 Plaintiffs and the community.

         Face masks are an important tool to protect against infectious diseases. The United States

 is currently experiencing a COVID wave, with infection rates increasing across the whole

 country. 5 Additionally, the Centers for Disease Control and Prevention recently asked “health

 departments to distribute existing PPE stocks to farm workers” in anticipation of a potential

 H1N1 (bird flu) outbreak in humans.6 Masks do not merely protect people from airborne disease.

 Wildfire smoke drifting in from Canada forced many New Yorkers to wear masks to protect

 themselves at the encouragement of government officials last week and in the summer of 2023.7




 5
   Klein, Kaity, COVID is on the rise this summer. Here's why and what else you should know, NPR, August 15,
 2024, https://www.npr.org/2024/08/15/nx-s1-5075060/covid-summer-wave-variants-vaccine; Fenit Nirappil &
 Lizette Ortega, Covid summer wave spreads across U.S., even infecting Biden, WASH. POST, July 18, 2024,
 https://www.washingtonpost.com/health/2024/07/18/biden-covid-summer-wave-symptoms-flirt-variant/.
 6
   U.S. Department of Agriculture, USDA, HHS Announce New Actions to Reduce the Impact and Spread of H5N1,
 May 5, 2024, https://www.usda.gov/media/press-releases/2024/05/10/usda-hhs-announce-new-actions-reduce-
 impact-and-spread-h5n1.
 7 See, e.g., Gov. Kathy Hochul, Public Safety Message, August 16, 2024,

 https://www.governor.ny.gov/news/governor-hochul-urges-new-yorkers-take-appropriate-precautions-smoke-
 canadian-wildfires-0; Eduardo Cuevas, Should New Yorkers be Wearing Face Masks Outside? NY Experts Say Yes.
 Here’s Why, LOHUD.COM, Jun. 7, 2023, https://www.lohud.com/story/news/2023/06/07/nyc-wear-face-masks-if-
 people-must-go-outside-amid-wildfire-smoke/70297465007/ (“‘For people who must be outdoors, a high-quality
 mask, like an N95, KN95 or KF94, is recommended,’ Dr. Ashwin Vasan, commissioner of the New York City
 Department of Health and Mental Hygiene, told reporters.”); NYC Health, Guidance of Mask Use When Outdoor
 Air Quality Is Poor Due to Air Pollution from Wildfire or Other Smoke,
 https://www.nyc.gov/assets/doh/downloads/pdf/eode/mask-guidance-smoke.pdf (last visited Aug. 1, 2024); New
 York State, Governor Hochul Announces One Million N95 Masks to be Made Available to New Yorkers as Effects of
 Canadian Wildfires Continue to Impact Air Quality in New York State, Jun. 7, 2023,
 https://www.governor.ny.gov/news/governor-hochul-announces-one-million-n95-masks-be-made-available-new-
 yorkers-effects-canadian (“‘Every part of New York State has experienced unhealthy air quality in the last 24 hours
 as a result of Canadian wildfires, and our number one priority right now is keeping New Yorkers safe,’ Governor
 Hochul said. ‘Prolonged exposure to this harmful air will cause negative health impacts, which is why we're making
 high-quality masks available at high-traffic areas across New York.’”); Dan Diamond, NYC Tells Vulnerable
 Residents to Mask Up as Wildfire Smoke Engulfs City, THE WASHINGTON POST, Jun. 7, 2023,
 https://www.washingtonpost.com/weather/2023/06/07/nyc-mask-guidance-air-quality-canada-wildfire/.

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        The public interest of those in Nassau County and across New York State is served by

 allowing individuals to mask when they choose without fear of reprisal. Plaintiffs’ interests align

 with that of the public.

                                            Conclusion

        For all the above reasons, this Court should issue a temporary restraining order and

 subsequent preliminary injunction granting Plaintiffs’ request for a stay in enforcement of the

 Mask Ban in Nassau County.



 Dated: August 22, 2024

 Rensselaer, New York

 By: ____________________

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